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l. (a) PLAINTIFFS                                                                                                                        DEFENDANTS
Moser, Michaelann K.                                                                                                                    Foza Transportalion Services, lnc., Rivera Logislics, lnc., F&A
Mossr, Randy L.                                                                                                                         Express, LLC, Juan Flivera, Omar A. Rivera, Roberto Perez and
                                                                                                                                        Floberto Perez Trucking
     (b)     county of Residence of F irsl I-isred          Plaintifi Franklin                                                            coun!] of Residence of Fi6r t.isred Defendanr                               Wgbblounty+x1;
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                                                                                                                                                                                          Jonathan Danko, Esquire
     (C)     Anomels /frl,r,\4rk. A.tltc'\. an.l          t!l!ptr"'!   tiunth.a                                                            Anome\'s //i7k)N            rl                  Rawle & Henderson
Anthony J. Cosentino, Esquire, DiLoreto, Cosenlino & Bolinger, PC                                                                                                                          240 N. Third Street
330 Lincoln Way Easl, PO. Box 866                                                                                                                                                          Payne Shoemaker Buildinq, glh Floor
Chambersburg, PA 17201                                                                                                                                                                     Harrisburg, PA 17101

ll.   BASIS OF JURISDICTION a'r*"""                                                                                lll.         CITIZENSHIPOF PRINCIPAL PARTIES                                                       ri,ru."
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                                   Verification



        We, Michaelann K. Moser and Randy L. Moser, the plaintiffs
  herein, hereby affirm that the facts set forth in the foregoing complaintis
  based upon information which we have fumished to counsel, as well as
  information which has been gathered by counsel and/or by others acting
  on behalf of myself in preparation of this compraint. The ranguage of the
  complaint is that of our counsel and not our own. we have read the
  complaint and, to the extent that it is based upon information which we
 have given to counsel, it is true and correct to the best of our knowledge,
 information and belief. To the extent that the content of the complaint is
 that of counsel, we have relied upon such counsel in making this
 verification. we hereby acknowledge that the facts set forth in the
 aforesaid complaint are made subject to the penalties of 1g pa.c.s.
 Section 4904, relating to unsworn falsification to authorities.




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Date: A,rg.r"t g,   2017




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